
USCA1 Opinion

	







          March 19, 1996        [Not For Publication]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          No. 95-1088

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               CATALINO GONZALEZ ROBLES

                                Defendant, Appellant.
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Raymond L. Acosta, Senior U.S. District Judge]
                                          __________________________
                                 ____________________


                                        Before

                               Torruella, Chief Judge,
                                          ___________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                               and Cyr, Circuit Judge.
                                        _____________
                                 ____________________


               Benito I. Rodriguez Masso for appellant.
               _________________________
               Juan A. Pedrosa, Assistant United States Attorney, with whom
               _______________
          Guillermo Gil,  United States Attorney,  Jose A. Quiles-Espinosa,
          _____________                            _______________________
          Senior  Litigation  Counsel,  and  Nelson  Perez-Sosa,  Assistant
                                             __________________
          United States Attorney, were on brief for appellee.

                                 ____________________


                                 ___________________
























               Per Curiam.   Appellant, in this  prosecution for possession
               __________

          of marihuana with intent to distribute (21 U.S.C.   841(a)(1) and

          18  U.S.C.    2),  appeals from  the  court's refusal  to  depart

          downward from  the  46-month sentence  recommended  and  accepted

          pursuant to his plea agreement.

               The only formal request  for a downward departure was  based

          on  the  circumstances  that appellant  was  the  father of  four

          children,  from age 3  to age 12;  that his wife  was a practical

          nurse working  with AIDS  patients and  earned $332.00  every two

          weeks;  that  food has  been  scarce; that,  having  no immediate

          family  available, she has had  to leave her  children alone when

          working;  and   that  the  children   receive  psychological  and

          psychiatric help on a voluntary basis.

               At the sentencing hearing, the court and appellant's counsel

          discussed the  circumstances in United States v. Sclamo, 997 F.2d
                                          _____________    ______

          970 (1st  Cir. 1993), a case  in which we affirmed  a decision of

          the  district court to depart downward.  In that case, defendant,

          though not a  biological father, nevertheless was  described by a

          psychologist  as having  demonstrated  over time  a critical  and

          unique role in  his relationship  with a child  suffering from  a

          clinical disorder, with a prognosis of risk of serious regression

          should defendant be incarcerated.  In the  case at bar, the court

          noted  that the persuasive factors in Sclamo were not present and
                                                ______

          that  the  family's  turmoil   was  no  more  than  the   natural

          consequences of a father's  imprisonment.  It concluded  that the

          criteria  for departure set forth in United States v. Rivera, 994
                                               _____________    ______


                                         -2-














          F.2d  942 (1st Cir.  1993), had not  been met.   This conclusion,

          being a refusal to exercise discretion to depart downward, is not

          reviewable.  United States v. Romero, 32 F.3d  641, 653 (1st Cir.
                       _____________    ______

          1994).

               Appellant has briefed a second issue -- that the court erred

          in not considering coercion  as a ground for downward  departure.

          Our threshold question is whether any such request was made.

               This  is the sequence of events.  At the sentencing hearing,

          after  defense counsel  presented  her argument  based on  family

          circumstances,  the  court  asked  if  defendant  wished  to  say

          anything.  He  then gave the  following narrative:   he had  been

          invited by a man he thought was a "noble person" to go fishing at

          St.  Thomas; once  there,  baiting a  net,  he learned  that  the

          mission was  to get marihuana; he  was to be paid  forty or fifty

          thousand  dollars for  his participation;  when he  endeavored to

          leave, his associate exhibited a cellular phone and said he would

          call the owner of the marihuana, who would "see that you and your

          family disappear."

               Appellant closed his remarks by saying that he had been hurt

          irreparably, "for  which reason at  any time the  government will

          arrest him I am willing to unmask him.  That is all."

               Then  followed three  versions of  what appellant  had said.

          The prosecutor pointed out  the inconsistency between appellant's

          testimony and  the plea agreement, where  appellant had confessed

          to participating in the smuggling venture.  The court thought the

          story was not a denial of entering the venture but an explanation


                                         -3-














          of  how  appellant  became  involved.    It  recognized  that his

          "reasons . . . bordered on coercion" but that this had never been

          asserted as a defense.  And appellant's counsel  volunteered that

          appellant had tried to show "that he is willing at  any time that

          the  government needs him, to  cooperate fully and  like he said,

          'desen mascarar' [unmask] that person that has caused some damage

          to him and his family."

               On this record  we cannot say that the court  was faced with

          any  request to depart downward.   Reviewing for  plain error, we

          find  none.   Not only  did  the plea  agreement  contain a  flat

          acknowledgement  of appellant's participation,  without caveat or

          excuse,  but after  the prosecutor  orally summarized  the events

          leading  up to arrest, the appellant stated his agreement and did

          not  accept  the  court's  offer  to  add   any  "corrections  or

          modifications."

               Affirmed.
               ________






















                                         -4-



















               Chief Judge Torruella                             March 14, 1996
               Judge Cyr





               United States v. Gonzalez-Robles
               _____________    _______________
               No. 95-1088




                    I enclose a draft per curiam, which  I see no need to publish.
               I welcome your comments and suggestions.











































